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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            :
                                                    :
               v.                                   :
                                                    :       CASE NO. 22 Cr. 070 (RDM)
LUCAS DENNEY,                                       :
                                                    :
                       Defendant.                   :


    GOVERNMENT’S MEMORANDUM IN SUPPORT OF THE APPLICATION OF
      CERTAIN UNITED STATES SENTENCING GUIDELINES PROVISIONS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Colombia, hereby submits this memorandum in support of the application of a four-

point enhancement for using a dangerous weapon pursuant to United States Sentencing Guidelines

Section 2A2.2(b)(2).

                                       BACKGROUND

       On January 6, 2021, the defendant, Lucas Denney, who was standing in a crowd of rioters

on the Capitol grounds, swung a long PVC pole at a Metropolitan Police Department (“MPD”)

Sergeant – Sgt. K.K. – who was armed with crowd-control spray and positioned on an elevated

structure on the West Plaza of the United States Capitol building. 1     In connection with that

conduct, on March 17, 2022, the defendant pled guilty to a one-count Indictment charging him

with Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in violation

of 18 U.S.C. §§ 111(a)(1) and (b).   The parties did not enter into a plea agreement and, prior to

the change of plea proceeding, each submitted their own analysis of the relevant sentencing range



1
  The defendant’s other conduct on January 6, 2021 (and in the weeks before and after) is detailed
in the Government’s sentencing submission (ECF No. 46), the pre-sentence investigation report
(“PSR”) (ECF No. 47), and the parties’ joint statement of offense (ECF No. 60-1).
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under the United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”).      See ECF No. 29

(defendant’s calculation) and ECF No. 31 (Government’s calculation).          The Government’s

analysis included the following adjustments to a base offense level of 14 (U.S.S.G. § 2A2.2(a)):

       U.S.S.G. § 2A2.2(b)(1)                The offense involved more than               +2
                                             minimal planning

       U.S.S.G. § 2A2.2(b)(2)(B)             The defendant used a dangerous               +4
                                             weapon (a pole)

       U.S.S.G. § 2A2.2(b)(7)                The defendant was convicted of               +2
                                             a violation of § 111(b)

       U.S.S.G § 3A1.2(b)                    Official victim                              +6

       U.S.S.G. § 3E1.1(a) & (b)             Acceptance of responsibility                 -3

ECF No. 31 at 1-2. This analysis resulted in a total offense level of 25 and a Guidelines range of

57 to 71 months’ imprisonment.

       The defendant’s analysis included the following adjustments to a base offense level of 14

(U.S.S.G. § 2A2.2(a)):

      U.S.S.G. § 2A2.2(b)(2)(C)             The defendant brandished a                    +3
                                            dangerous weapon (a pole)

       U.S.S.G. § 2A2.2(b)(7)                The defendant was convicted of               +2
                                             a violation of § 111(b)

       U.S.S.G § 3A1.2(b)                    Official victim                              +6

       U.S.S.G. § 3E1.1(a) & (b)             Acceptance of responsibility                 -3

ECF No. 29 at 3.   This analysis resulted in a total offense level of 22 and a Guidelines range of

41 to 51 months’ imprisonment.

       On May 5, 2022, the U.S. Probation Office (the “Probation Office”) issued a draft PSR

(ECF No. 40) calculating the defendant’s offense level as 29, applying all of the enhancements in

the Government’s preliminary analysis, above, as well as an additional four points pursuant to



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U.S.S.G. § 3B1.5(2)(B) because the defendant used body armor during the commission of a crime

of violence. See ECF No. 46 (Government Sentencing Memo) at 50. 2 This analysis resulted in

a total offense level of 29 and a Guidelines range of 87-108 months’ imprisonment. On July 7,

2022, the Government filed its sentencing submission, concurring with the calculation of the

Probation Office in the draft PSR. Id.

       On July 14, 2022, the defendant filed his sentencing submission. In that submission, the

defendant argued that the 4-point enhancement under U.S.S.G. § 2A2.2(b)(2)(B) (use of a

dangerous weapon) did not apply because he did not use the pole “with the intent to commit bodily

injury” 3 and filed an unsworn affidavit in which he asserted that he was not targeting or attempting

to injure Sgt. K.K. when he swung the pole at him, but was attempting to knock the crowd-control

spray device from the officer’s hands. ECF No. 50 at 13-15; ECF. No. 51 at ¶ 30. Thus, the

defendant’s new analysis resulted in a total offense level of 19 and a Guidelines range of 30 to 37

months’ imprisonment. Id. at 15-16.

       Subsequently, at the defendant’s originally scheduled sentencing proceeding on July 21,

2022, the Court requested that the parties address whether a defendant’s “use of a deadly or

dangerous weapon,” as required by 18 U.S.C. § 111(b), is coterminous with the enhancement

pursuant to U.S.S.G. § 2A2.2(b)(2)(B) that applies when a defendant “otherwise use[s]” a

dangerous weapon. Transcript of July 21, 2022 hearing at 6.




2
  Following the defendant’s objection, the Probation Office removed this enhancement from the
final PSR.
3
  The defendant also argued the 2-point enhancement pursuant to U.S.S.G. § 2A2.2(b)(1) (more
than minimal planning) did not apply. The Government addressed this argument in its sentencing
submission. See ECF No. 46 at 51-52.



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                                           ARGUMENT

         The defendant argues that because he claims to have intended to use a PVC pole to disarm

Sgt. K.K., and not to hurt him, the pole was not a “dangerous weapon” and therefore the

defendant’s use of the pole to assault Sgt. K.K. does not warrant a four-point enhancement under

U.S.S.G. § 2A2.2(b)(2)(B). The defendant is wrong. His conduct clearly demonstrated his use

of the pole in a way that could cause bodily injury and his intention to do so; his professed

additional motivation does not mitigate that.

   A. Applicable Law

         A defendant is guilty of violating 18 U.S.C. § 111(a) if he (1) assaulted, resisted, opposed,

impeded, intimidated, or interfered with, (2) a federal officer, (3) engaged in or on account of the

performance of the officer’s official duties, and (4) did so forcibly. United States v. Arrington,

309 F.3d 40, 44 (D.C. Cir. 2002). The defendant must also intend to do the acts outlined above.

Id. A defendant additionally violates 18 U.S.C. § 111(b) if he “uses a deadly or dangerous

weapon” or “inflicts bodily injury” in the course of violating § 111(a). Id. For purposes of

Section 111(b), when the object used in the commission of the offense is not “inherently deadly,”

“the object must be capable of causing serious bodily injury or death to another person and the

defendant must use it in that manner.” Id. at 45. While the defendant must also intend to use the

weapon – purely accidental use is not sufficient – there is no requirement that the Government

prove that the defendant intended to use the object as a weapon, if he in actuality does so. Id. at

45-46.

         Pursuant to U.S.S.G. § 2A2.2(b)(2), various enhancements apply to a defendant’s offense

level if a firearm or dangerous weapon is employed in the commission of the offense. If a

defendant brandished a dangerous weapon or threatened its use, three points are added. U.S.S.G.




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§ 2A2.2(b)(2)(C). If a defendant “otherwise used” a firearm or dangerous weapon, four points

are added. U.S.S.G. § 2A2.2(b)(2)(B). The Guidelines contain the following definitions:

          •   “‘Dangerous weapon’ means (i) an instrument capable of inflicting death or serious

              bodily injury or (ii) an object that is not an instrument capable of inflicting death or

              serious bodily injury but (I) closely resembles such an instrument; or (II) the

              defendant used the object in a manner that created the impression that the object

              was such an instrument. . . .” U.S.S.G. § 1B1.1 cmt. n. 1(E).

          •   “‘Brandished’ with reference to a dangerous weapon (including a firearm) means

              that all or part of the weapon was displayed, or the presence of the weapon was

              otherwise made known to another person, in order to intimidate that person,

              regardless of whether the weapon was directly visible to that person.” U.S.S.G.

              § 1B1.1 cmt. n. 1(C).

          •   “‘Otherwise used’ with reference to a dangerous weapon (including a firearm)

              means that the conduct did not amount to the discharge of a firearm but was more

              than brandishing, displaying, or possessing a firearm or other dangerous weapon.”

              U.S.S.G. § 1B1.1 cmt. n. 1(J).

          •   “‘Dangerous weapon’ has the meaning given that term in § 1B1.1, Application Note

              1, and includes any instrument that is not ordinarily used as a weapon (e.g., a car, a

              chair, or an ice pick) if such an instrument is involved in the offense with the intent

              to commit bodily injury.” U.S.S.G. § 2A2.2 cmt. n. 1.

   B. Discussion

              1. Denney’s Conduct Demonstrates That He Intended to Injure Sgt. K.K. in
                 Swinging a Pole at Him.

       Whatever Denney’s professed motivation was in swinging a pole at Sgt. K.K., his conduct


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demonstrates that he intended to inflict bodily injury. As a preliminary matter, Denney’s asserted

goal (to disarm Sgt. K.K.) is not at odds with the intent to commit bodily injury, and, unlike a

defendant whose motivation is to frighten a victim, is in fact entirely consistent with an intent to

injure.     Indeed, it is difficult to conceive of how one would go about disarming a police officer,

who is lawfully authorized to carry a firearm and other weapons and—circumstances permitting—

to use deadly force, without intending in some form to inflict injury on that officer. That is all

the more so true here, where Denney’s action to purportedly “disarm” Sgt. K.K. was to swing a

long, hard pole – an item indubitably capable of causing bodily injury – at the officer’s face, head,

and torso.     Assuming that Denney did so in an attempt to relieve Sgt. K.K. of his crowd-control

spray that he was holding in his hands (leaving Sgt K.K. and his fellow officers more vulnerable

to attack by the mob of rioters), this method of disarming the officer necessarily risks causing

injury to the officer.   Cf. United States v. Jones, 332 F.3d 1294, 1307 (10th Cir. 2003) (“Nothing

in section[] . . . 2A2.2 (aggravated assault), or 1B1.1 (defining “otherwise used”) requires that the

defendant have the specific intent to use the dangerous weapon; rather, the Guidelines simply

suggest that the instrumentality must be used in such a way that it presents a high risk of inflicting

injury”).

          Further, Denney’s claim regarding his intent in assaulting Sgt. K.K. is not credible.   His

intent is clear from his actions and surrounding circumstances.      See United States v. Goodbear,

676 F.3d 904, 910 (9th Cir. 2012) (the defendant’s “argument that [he] did not intend to injure [the

victim] is belied by [the victim’s] death.”); United States v. Ortegon, 45 F. App'x 318, 2002 WL

1860281, at *1 (5th Cir. 2002) (“The intent to do bodily harm is not measured by the actor’s

subjective motivation. It is measured objectively, by what one in the victim's position might

reasonably conclude from the actor’s conduct.” (internal citations omitted)); cf. United States v.




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Valdez-Torres, 108 F.3d 385, 388 (D.C. Cir. 1997) (district court’s finding that defendant intended

to injure the officer-victim when the defendant accelerated his car towards the officer, based on

the officer’s opinion and the circumstances of the assault, was not clearly erroneous, despite

defendant’s assertion that he intended “only to escape or, at worst, to frighten [the officer], not to

injure him”); United States v. Garcia, 34 F.3d 6, 11 (1st Cir. 1994) (despite defendant’s assertion

that he “drove at the agent” in an attempt to flee, but intended only to scare the agent not to hit

him, the circumstances of the assault “certainly supported the inference that [the defendant]

intended to cause serious bodily harm”).

       It is clear from the video footage of Denney’s assault that he intended to strike and injure

Sgt. K.K.   Denney swung a hard pole, from above, at Sgt. K.K’s head, face, and torso.            See

Government Sentencing Exhibit 15 at 02:22-02:25; Exhibit 16 at 00:27-00:37. The pole did not

directly strike Sgt. K.K. only because it fell short, both of his face and of the crowd-control spray

he was holding in his hands.    See Exhibit 15 at 02:22-02:25; Exhibit 16 at 00:27-00:37; Exhibit

17 at 00:20-00:23.    And, from Sgt. K.K.’s perspective, Denney was wielding the pole in an

attempt to injure him. See Transcript of July 21, 2022 hearing at 34 (“Unfortunately, the actions

of the defendant are one of which play on television from time to time and remind me of that day.

I am reminded of the feeling that this gentleman was trying to gouge my face and my eyes out with

his pole.”) (emphasis added) id. (“I remember from my recollection that day that this pole was

headed for my face and not for my crowd control device that he tried to take from me earlier on.”).

       Sgt. K.K.’s recollection, based on a few minutes of interaction with Denney, is borne out

by Denney’s assaultive, violent, and antagonizing conduct over the course of more than an hour

and a half on January 6, 2021. In the hour preceding his assault on Sgt. K.K., Denney attempted

to pull barricades away from the officers manning them, ECF No. 60-1 at ¶¶ 52-53, sprayed pepper




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spray at police officers, id. at ¶¶ 55, 57, and physically grappled with an officer who was trying to

back him away from the police line, id. at ¶ 56. And, in the minute after Denney attempted to

grab Sgt K.K.’s crowd control spray and then swung a pole at him, id. at ¶¶ 58-59, Denney threw

yet another object – a large cardboard tube that required two people to launch – in the direction of

police officers, id. at ¶ 60. Those violent actions make clear that Denney through his actions on

January 6th intended harm to the officers who sought to protect the Capitol—including Sgt. K.K.

               2. Though Guidelines Section 2.2A2(b)(2)(B) Does Not Require that the
                  Defendant Specifically Intend to Commit Bodily Injury, This Court Need
                  Not Decide That Question Here.

       Because Denney’s conduct swinging a pole at Sgt. K.K. evinced the intent to inflict harm

on the officer, this Court need not decide whether intent to cause bodily injury is required to apply

the four-level enhancement under U.S.S.G. § 2A2.2(b)(2).            In any event, no such intent

requirement exists.

       The Guidelines contemplate that items other than traditional weapons are included in the

definition of “dangerous weapon,” if they can be used in a way that that could cause death or

serious bodily injury. See U.S.S.G. § 1B1.1 n 1(E). Here, the PVC pole that Denney swung at

Sgt. K.K. was clearly a “dangerous weapon” under U.S.S.G. § 1B1.1 cmt. n. 1(E)(i): The pole,

while bendable, was hard, and thick enough to be swung with force without breaking. And,

although Denney did not succeed in hitting Sgt. K.K., he used the pole in such a way that it was

capable of inflicting serious injury, swinging the pole at Sgt. K.K.’s face, head, and torso. Sgt.

K.K. was not significantly injured by the pole not because the pole was incapable of causing injury,

but because Denney missed him.

       The definition of “dangerous weapon” contained in Application Note 1 of U.S.S.G.

§ 2A2.2 does not add additional requirements for an item to be considered a dangerous weapon.




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That section specifically references Section 1B1.1’s definition of a “dangerous weapon,” adopts

that definition, and underscores that items other than inherent deadly or dangerous objects can be

used in such a way that makes them dangerous weapons.         The note’s reference to the use of the

item “with the intent to commit bodily injury” is but an example of items included in the definition.

See U.S.S.G. § 1B1.1 cmt. n. 2 (“The term ‘includes’ is not exhaustive”).      It does not exclude a

set of otherwise dangerous weapons on the grounds that the defendant lacked the subjective intent

to injure when he utilized them.

        Such a carve-out would lead to illogical results.       For example, it would impose an

additional requirement on the Guidelines’ definition of “brandish,” which already contains its own

mens rea requirement.      See U.S.S.G. § 1B1.1 cmt. n. 1(C) (“‘Brandished’ . . . means that all or

part of the weapon was displayed, or the presence of the weapon was otherwise made known to

another person, in order to intimidate that person”) (emphasis added).             Thus, under the

interpretation urged by Denney, a defendant who brandished a dangerous weapon or threatened to

use a dangerous weapon would also have to intend to commit bodily injury in order to receive an

enhancement pursuant to U.S.S.G. § 2A2.2(b)(2)(C).       And it would mean that the enhancement

under U.S.S.G. § 2A2.2(b)(2)(B) would not apply to a defendant who succeeded in injuring a

victim using an instrument capable of inflicting serious bodily injury, unless the defendant

intended to inflict such injury. 4



4
  The Ninth Circuit requires that, in order to trigger the application of § 2A2.2(b)(2)(B), the
sentencing court must find the defendant intended to cause injury with the dangerous weapon.
United States v. Dayea, 32 F.3d 1377, 1381 (9th Cir. 1994). In Dayea, the court reasoned that
conduct that warrants the application of § 2A2.2(b)(2)(B) (“otherwise us[ing]” “a dangerous
weapon”) must be more serious or dangerous than conduct that warrants the application of §
2A2.2(b)(2)(C) (“brandishing” or “threatening” the use of a “dangerous weapon”). See id. (“It
would not be rational, in light of the guideline’s escalating levels of culpability, to do away with
the requirement of intent for . . . subsection [(B)], which carries a four-level increase, while
retaining it for subsection (C), which carries only a three-level increase.”) However, this


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       The history of U.S.S.G. § 2A2.2 further confirms this sensible reading. The Sentencing

Commission amended § 2A2.2 in 2001 to include the instruction, currently located in Application

Note 3, that “[i]n a case involving a dangerous weapon with intent to cause bodily injury, the court

shall apply both the base offense level and subsection (b)(2).” U.S.S.G. § 2A2.2 app. C. amend.

614 (Nov. 2001). The Commission included this language to clarify in light of a circuit conflict

that it was not impermissible double counting to apply § 2A2.2(b)(2)(B) in the subset of cases

where § 2A2.2 is applied because the assault involved “a dangerous weapon with intent to cause

bodily injury.” U.S.S.G. § 2A2.2 cmt. n.1; see U.S.S.G. § 2A2.2, app. C amend. 614 (Nov. 2001);

United States v. Duke, 870 F.3d 397 (6th Cir. 2017); Fed. Sent. L. & Prac. § 2A2.2 (2022 ed.). The

Commission explained that “[a]n assault that involves the presence of a dangerous weapon is

aggravated in form when presence of the dangerous weapon is coupled with the intent to cause

bodily injury. In such a case, the base offense level and the weapon enhancement in subsection

(b)(2) take into account different aspects of the offense, even if application of the base offense

level and the weapon enhancement is based on the same conduct.” U.S.S.G. § 2A2.2 cmt.

background; U.S.S.G. § 2A2.2 app. C. amend. 614 (Nov. 2001). This history further shows that

the introduction of Application Note 3 was not meant to create an intent requirement when

applying U.S.S.G. § 2A2.2(b)(2)(B). Rather, it was introduced to permit the application of both

the base offense level under § 2A2.2 and the § 2A2.2(b)(2)(B) adjustment in the subset of

aggravated assault cases involving a dangerous weapon with intent to cause bodily injury. See

§ 2A2.2 cmt. n.1 (defining aggravated assault as, inter alia, a felonious assault that involved a




reasoning ignores the Guidelines’ directive that to “otherwise use” a “dangerous weapon” the
defendant must do “more than brandish[], display[], or possess[]” the weapon, U.S.S.G. § 1B1.1
n. 1(J), and that the definition of “dangerous weapon” applies to both subsection (B) and subsection
(C), U.S.S.G. § 2A2.2 cmt. n. 1.


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dangerous weapon with intent to cause bodily injury).

                                        CONCLUSION

       For the reasons stated above, the Court should apply a four-point enhancement to Denney’s

base offense level, pursuant to U.S.S.G. § 2A2.2(b)(2).

                                             Respectfully submitted,

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